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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



Darren A. Britto, et al.
Plaintiff
v.
                                                               Civil Action No.
Bureau of Alcohol, Tobacco, Firearms and Exp
Defendant

        CERTIFICATE OF INTERESTED PERSONS',6&/2685(67$7(0(17
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

The undersigned counsel for Plaintiffs Darren A. Britto, Gabriel A. Tauscher, and Shawn M.
Kroll


provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None.




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 Darren A. Britto, Gabriel A. Tauscher, Shawn M. Kroll, Bureau of Alcohol, Tobacco, Firearms
 and Explosives, Wisconsin Institute for Law & Liberty, Inc., Attorney Daniel P. Lennington,
 Attorney Lucas T. Vebber, Tormey & McConnell, Jeffrey W. Tormey, and Ed J. McConnell
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil !Other
Documents !Certificate of Interested Persons'LVFORVXUH6WDWHPHQW
